Case 8:22-cr-00366-VMC-UAM Document 68 Filed 10/23/23 Page 1 of 3 PageID 152




                    IN THE UNITED STATES DISTRICT
                      COURT MIDDLE DISTRICT OF
                               FLORIDA
                            TAMPA DIVISION

UNITED STATES OF AMERICA, §
                          §
vs.                       §                Case No.: 8:22-cr-366-VMC-MRM
                          §
EDWARD FERRARO

DEFENDANT’S SECOND UNOPPOSED MOTION FOR CONTINUANCE OF
                      SENTENCING

      COMES NOW the Defendant, EDWARD FERRARO, by and through

undersigned counsel, and respectfully requests this Honorable Court to grant a

continuance of the November 8, 2023 sentencing date, and states as follows:

   1. On June 15, 2023, Mr. Ferraro entered a plea without the benefit of a plea

      agreement to a single count of Theft of Government Funds under 18 U.S.C. §

      641. (Doc. 47)

   2. This Court accepted Mr. Ferraro’s plea and scheduled a sentencing hearing for

      September 5, 2023. (Doc. 52)

   3. Mr. Ferraro filed his first unopposed Motion to Continue Sentencing on August

      23, 2023. (Doc. 61)

   4. The motion was granted and the sentencing was rescheduled to November 8,

      2023. (Doc. 63)
Case 8:22-cr-00366-VMC-UAM Document 68 Filed 10/23/23 Page 2 of 3 PageID 153




   5. Undersigned counsel is scheduled to begin a jury trial in Pasco County in State

      v. Iturria 2021CF297 on November 8, 2023, which is expected to last until

      November 10, 2023. The trial in this matter has been previously continued

      several times, and is unlikely to be rescheduled again.

   6. Undersigned counsel is also scheduled to begin a jury trial in Hillsborough

      County in State v. Allen 23-CF-002189 on December 11, 2023. However,

      undersigned counsel expects that the trial on this matter will likely be continued

      to a later date.

   7. Counsel for the Government, AUSA Rachel Jones is scheduled to be on

      vacation November 20, 2023 to November 24, 2023 and December 4, 2023 to

      December 8, 2023.

   8. Undersigned counsel is scheduled to be on vacation December 6, 2023 to

      December 8, 2023.

   9. Undersigned counsel has conferred with Assistant United States Attorney

      Rachel Jones who has no objection to the relief requested.

   10. This Court has the authority to grant this motion pursuant to 18 U.S. Code §

      3161(h)(7)(B)(i) which allows the Court to grant a continuance if its failure to

      do so would likely result in a miscarriage of justice.

   WHEREFORE, Defendant, Edward Ferraro, respectfully requests this
Case 8:22-cr-00366-VMC-UAM Document 68 Filed 10/23/23 Page 3 of 3 PageID 154




Honorable Court enter an order setting a new sentencing date accounting for the

dates of unavailability for Mr. Ferraro’s counsel and for counsel for the

Government.



                                              /s/ Nicholas Chotos
                                              NICHOLAS CHOTOS, Esquire

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing document
was electronically filed with the United States District Court Clerk of Court via the
CM/ECF system which will send a notice of electronic filing to the Office of the
United States Attorney, this 23rd day of October 2023.


                                              /s/ Nicholas Chotos
                                              NICHOLAS CHOTOS, Esquire
                                              Hanlon Law, P.A.
                                              210 Pierce St.
                                              Tampa, Florida 33602
                                              Tel: (727) 897-5413
                                              Email:
                                              nick@tampadefenseattorney.
                                              com Florida Bar Number:
                                              112871 Attorney for
                                              Defendant
